Case 6:22-cv-00001-ADA Document 26-2 Filed 09/27/22 Page 1 of 12




                       EXHIBIT B
               Case 6:22-cv-00001-ADA Document 26-2 Filed 09/27/22 Page 2 of 12

                                                                                                           US010809762B1

( 12) United States Patent                                                           ( 10 ) Patent No.: US 10,809,762 B1
            Levine                                                                   (45) Date of Patent :    Oct. 20 , 2020
( 54 ) ACCESSORY DISPLAY DEVICE                                                           7,375,954 B2 * 5/2008 Yang                      G06F 1/1616
                                                                                                                                               248/920
( 71 ) Applicant: Alex Cole Levine , Austin , TX (US)                                     7,633,744 B2 * 12/2009 Kuhn                     G06F 1/1622
                                                                                                                                            361 /679.04
                                                                                          7,752,789 B2 *     7/2010 Sun                   G06F 1/1601
( 72 ) Inventor: Alex Cole Levine , Austin , TX (US )                                                                                            108/70
                                                                                          7,813,118 B2 *    10/2010 Burge                 F16M 11/105
( * ) Notice : Subject to any disclaimer, the term of this                                                                                  361 /679.21
                  patent is extended or adjusted under 35                                 D630,204 S         1/2011 Kovac                     D14 /327
                   U.S.C. 154 (b ) by 0 days.                                             D630,205    S      1/2011 Kovac                     D14 /327
                                                                                          D630,206    S    1/2011 Kovac                      D14 /327
                                                                                          D630,628    S * 1/2011 Kovac                       D14 /327
( 21 ) Appl. No .: 16 /673,920                                                            7,936,558   B2 * 5/2011 Chang                   G06F 1/1647
                                                                                                                                            361 /679.04
( 22 ) Filed :             Nov. 4 , 2019                                                  8,018,715 B2 *  9/2011 Chang                    GO6F 1/1616
                                                                                                                                           361 /679.04
( 51 ) Int . Cl .                                                                         8,317,146 B2 * 11/2012 Jung                     GOOF 1/1601
                                                                                                                                            248 / 125.7
             GOOF 1/16                ( 2006.01 )
( 52)        U.S. CI .                                                                                        (Continued )
             CPC             G06F 1/1607 (2013.01 ) ; G06F 1/1616            Primary Examiner               Lisa Lea - Edmonds
                                ( 2013.01 ) ; G06F 1/1632 ( 2013.01 )
( 58 ) Field of Classification Search                                            ( 57 )                      ABSTRACT
             CPC combination set(s) only.                                        An accessory display device for a display device , such as for
             See application file for complete search history .                  a computer, is described . The device includes a housing
                                                                                 having a first side and a second side movable relative to one
( 56 )                       References Cited                                    another and a first pair of rails coupled to the first side and
                     U.S. PATENT DOCUMENTS
                                                                                 a second pair of rails coupled to the second side, the first pair
                                                                                 of rails engaged with and slidable relative to the second pair
            6,302,612 B1 * 10/2001 Fowler                 F16C 11/06             of rails. The device also includes a tensioning member
                                                                16/224           coupled to the first side and the second side and placing
            6,532,146 B1 *    3/2003 Duquette            G06F 1/1607             tension between the first side and second side . Further, the
                                                          361 / 679.04           device includes a first engagement portion coupled to the
            6,643,124 B1 * 11/2003 Wilk                  G06F 1/1616             first side and a second engagement portion coupled to the
            6,667,877 B2 * 12/2003 Duquette
                                                           312 /223.1            second side . The first engagement portion and the second
                                                         G06F 1/1607
                                                             248/917
                                                                                 engagement portion are configured to engage the side of a
            6,859,219 B1 * 2/2005 Sall                   G06F 1/1607             computer's display under force created by the tensioning
                                                             345 / 1.1           member. Further still , a first display is slidable within the
            6,967,632 B1 * 11/2005 Minami                 F16M 11/08             housing and is movable from a stowed position to a use
                                                             345 / 1.3           position .
            7,283,353 B1 * 10/2007 Jordan                GOOF 1/1601
                                                           248 / 122.1                                20 Claims , 6 Drawing Sheets



                                                                           175                                                      170
       165                                   140


                                                                     165
125                                                                  120
                                                                                                185                           180
      155


                                                                     150




                     130                                                                                                                            130
                                                                                              195                            190
             Case 6:22-cv-00001-ADA Document 26-2 Filed 09/27/22 Page 3 of 12


                                               US 10,809,762 B1
                                                           Page 2

( 56 )                    References Cited
                  U.S. PATENT DOCUMENTS
         9,441,782 B2 *    9/2016 Funk        F16M 13/02
          9,568,952 B2 * 2/2017 Matzke       G06F 1/1649
          9,696,760 B1 * 7/2017 Zhang        GO6F 1/1652
         10,082,832 B1 * 9/2018 Wang         G06F 1/1641
 2005/0237699 A1 * 10/2005 Carroll           G06F 1/1679
                                                 361/600
 2005/0253775 A1 * 11/2005 Stewart           GO6F 1/1616
                                                  345 / 1.1
 2006/0082518 A1 *         4/2006 Ram        G06F 3/1446
                                                   345 / 1.1
 2008/0198096 A1 *         8/2008 Jung         GO9G 3/20
                                                  345 / 1.3
 2009/0102744 A1 * 4/2009 Ram                G06F 1/1624
                                                   345 / 1.1
 2012/0223872 A1 *         9/2012 Ram        H04M 1/0266
                                                   345 / 1.3
 2015/0212546 A1 *         7/2015 Ram        G06F 1/1649
                                               361 / 679.01
 2015/0378393 A1 * 12/2015 Erad              G06F 1/1647
                                                 345 / 1.3
 2016/0154434 A1 * 6/2016 Lakhani            G06F 1/1628
                                               361 / 679.27
 2017/0003712 A1 *         1/2017 Funk        F16M 13/00
* cited by examiner
                                                                   U.S. Patent              Oct. 20 , 2020
                                                                                                   9              Sheet 1 of 6                US 10,809,762 B1
                                                                                                   120
Case 6:22-cv-00001-ADA Document 26-2 Filed 09/27/22 Page 4 of 12




                                                                                                                  2
                                                                                     ....
                                                                                                                  ht      .
                                                                         100                                                        come on
                                                                                                                                                   1
                                                                                                                                                   .
                                                                                                                                                   FIG
                                                                               130                                    V
                                                                                                             $!
                                                                                                                              110
                                                                                                   125
                                                                   U.S. Patent   Oct. 20 , 2020     Sheet 2 of 6    US 10,809,762 B1
                                                                                 165 120                      150
Case 6:22-cv-00001-ADA Document 26-2 Filed 09/27/22 Page 5 of 12




                                                                          140
                                                                                                                        2
                                                                                                                        .
                                                                                                                        FIG
                                                                                                                        130
                                                                           165                    155
                                                                                         125
    Case 6:22-cv-00001-ADA Document 26-2 Filed 09/27/22 Page 6 of 12


U.S. Patent       Oct. 20 , 2020
                         9          Sheet 3 of 6      US 10,809,762 B1



                                                          130?


      170
                              180                                190


                                                             3
                                                             .
                                                             FIG
                                                             912

                             185
                                                                 195


       175
    Case 6:22-cv-00001-ADA Document 26-2 Filed 09/27/22 Page 7 of 12


U.S. Patent            Oct. 20 , 2020
                              9         Sheet 4 of 6   US 10,809,762 B1




           185
                                         400

                       D                                 5
                                                         .
                                                         FIG




                                          400

                 185

                                                 400


                                                       4
                                                       .
                                                       FIG
    Case 6:22-cv-00001-ADA Document 26-2 Filed 09/27/22 Page 8 of 12


U.S. Patent           Oct. 20 , 2020
                             9               Sheet 5 of 6         US 10,809,762 B1




              410




                                                                  .
                                                                  FIG
                                                                  7




                    125
                                       400
                                                            6
                                                            .
                                                            FIG
    Case 6:22-cv-00001-ADA Document 26-2 Filed 09/27/22 Page 9 of 12


U.S. Patent         Oct. 20 , 2020
                            9        Sheet 6 of 6            US 10,809,762 B1




                      185




                                                            820
              175
                                                     8
                                                     .
                                                     FIG




                                                           810



                                               195
        Case 6:22-cv-00001-ADA Document 26-2 Filed 09/27/22 Page 10 of 12


                                                    US 10,809,762 B1
                              1                                                                    2
           ACCESSORY DISPLAY DEVICE                                    In addition to the foregoing, other aspects are described in
                                                                    the claims , drawings , and text forming a part of the disclo
                      BACKGROUND                                    sure set forth herein . The foregoing is a summary and thus
                                                         may contain simplifications, generalizations, inclusions ,
  Laptop computers have been a huge benefit for people 5 and / or omissions of detail; consequently, those skilled in the
who like to have the ability of a personal computer wherever art will appreciate that the summary is illustrative only and
they are . Whether it be for work , study, or entertainment, the is NOT intended to be in any way limiting . Other aspects ,
portability of laptop computers has been very advantageous. features, and advantages of the devices and / or processes
However, the tradeoff for laptop computers portability has and / or other subject matter described herein will become
always been the size of the display screen . The bigger the 10
display, the bigger the laptop computer and the less portable apparent in the disclosures set forth herein .
it becomes . Therefore , there is a need for a device which                 BRIEF DESCRIPTION OF THE DRAWINGS
allows for the laptop computer display to be expanded.
There is also a need for a device that allows for the laptop             FIG . 1 is a depiction of an accessory display device for a
computer display to be expanded and may be added onto the 15 laptop           computer in accordance with an example embodi
laptop computer easily and is also compact and portable.              ment.
                           SUMMARY                                       FIG . 2 is an example embodiment of the accessory display
                                                                      device of FIG . 1 removed from the laptop computer.
   An example embodiment relates to an accessory display 20 FIG . 3 is an example embodiment of the housing acces
device for a computer. The device includes a housing having sory display device of FIG . 1 in an exploded view .
a first side and a second side movable relative to one another           FIG . 4 is an example embodiment of a female rail of the
and a first pair of rails coupled to the first side and a second housing .
pair of rails coupled to the second side , the first pair of rails       FIG . 5 is an example cross - sectional view of the female
engaged with and slidable relative to the second pair of rails . 25 rail of FIG . 4 .
The device also includes a tensioning member coupled to the              FIG . 6 is an example embodiment of a side view of a
first side and the second side and placing tension between display showing a rail guide .
the first side and second side . Further, the device includes a          FIG . 7 is an example embodiment of a front view of the
first engagement portion coupled to the first side and a display of FIG . 6 showing a rail guide .
second engagement portion coupled to the second side . The 30 FIG . 8 is an example embodiment of a perspective end
first engagement portion and the second engagement portion view of the left side housing poi non .
are configured to engage the side of a computer's display                The use of the same symbols in different drawings typi
under force created by the tensioning member. Further                 cally indicates similar or identical items unless context
a first display is slidable within the housing and is movable dictates otherwise.
from a stowed position to a use position .                         35
   Another example embodiment relates to an accessory                                   DETAILED DESCRIPTION
display device for a computer. The device includes a housing
having a first side and a second side in sliding engagement            Referring to FIG . 1 , a computer display accessory 100 is
with each other and slidable relative to one another. The           depicted coupled to a laptop computer 110. Computer dis
device also includes a tensioning member coupled to the first 40 play accessory 100 is not limited to laptop computers but
side and the second side and placing tension between the may be used on any type of display device including but not
first side and second side and a first engagement portion limited to tablets, e - readers, gaming devices, desktop dis
coupled to the first side and a second engagement portion plays , television displays , etc. Therefore, computer display
coupled to the second side , the first engagement portion and accessory 100 is not limited to computers and in fact may be
the second engagement portion configured to engage at least 45 utilized on any type of display. Display accessory 100 adds
a portion of the side of a computer's display under force two additional screens 120 and 125 to any existing display.
created by the tensioning member and to engage at least a Display accessory 100 expands the screen display real estate
portion of the top of the display to further keep the housing with two slidable screens that pull out from the back edges
engaged with the computer's display. Further, the device of a housing 130. Housing 130 itself is universal, fitting
includes a first display slidable within the housing and 50 laptops of all sizes and uses tension from elastic to tighten
movable from a stowed position to a use position .             around the edges of the laptop screen .
   Yet another example embodiment relates to an accessory         Referring to FIG . 2 , housing 130 includes a mechanism
display device for a computer. The device includes a means that allows the screens to engage with the lid of the computer
for housing at least one slidable display screen , the means display accessory 110 and to pull out from either side .
for housing having a first side and a second side in sliding 55 Housing 130 uses an elastic band 140 or other tensioning
engagement with each other and slidable relative to one member to create tension between a right frame clip 150 and
another and a means for tensioning the first side and the a left frame clip 155 which creates force when pulled apart
second side and thereby placing tension between the first to put on the lid, effectively clamping either side to the
side and second side . The device also includes a first means computer lid . There is also a lip 160 on the top of right frame
for engaging the side of a computer's display, associated 60 clip 155 and a lip 165 on the top of left frame clip 155. The
with the first side . Further, the device includes a second lip helps to further secure display accessory 100 on the top
means for engaging the side of a computer's display, of computer 110 display and helps further secure computer
whereby the tensioning means provides forces to the first display accessory 100 to computer 110. When a user pulls
means for engaging and the second means for engaging; Still apart the left and right sides of housing 130 , an increasing
further, the device includes a first display means that is 65 tension is created in the elastic band forcing either side back
slidable within the means for housing and movable from a towards each other. This is what creates the " clamping ”
stowed position to a use position .                                 effect of the right frame clip 150 and the left frame clip 155 .
           Case 6:22-cv-00001-ADA Document 26-2 Filed 09/27/22 Page 11 of 12


                                                   US 10,809,762 B1
                              3                                                                       4
   In accordance with an example embodiment, elastic band             in a manner that is secure enough to carry the laptop
140 may be replaced with any type of suitable tensioning              computer with the accessory device attached thereto . In this
member, including but not limited to a spring , a rubber band,        way the portability of a device, such as a laptop computer is
resilient plastic portions, etc. These tensioning members             not compromised
may be coupled to housing portions 170 and 175 in any of         5       In some instances, one or more components may be
a variety of ways including but not limited to with glue , by         referred to herein as “ configured to , " " configured by , "
melting , by tying or sewing , by clipping, etc. In one               " configurable to , ” “ operable / operative to , ” “ adapted /adapt
example, the band 140 may be threaded through a cutout on             able," " able to ," " conformable /conformed to , " etc. Those
each portion of housing 130. Once threaded through the                skilled in the art will recognize that such terms ( e.g. " con
cutout, a blocking piece which does not fit through the          10   figured to ” ) generally encompass active - state components
cutout is affixed to the band so the band does not slip back          and / or inactive - state components and / or standby - state com
through the cutout and maintains tension on the band . Any            ponents, unless context requires otherwise.
of a variety of ways may be used to attach the tensioning                While particular aspects of the present subject matter
member to the two housing portions without departing from             described herein have been shown and described , it will be
the scope of the invention .                                     15   apparent to those skilled in the art that, based upon the
   Referring now to FIG . 3 , the main part of housing 130 is         teachings herein , changes and modifications may be made
shown as an exploded view of the two primary portions,                without departing from the subject matter described herein
right portion 170 and left portion 175. Right portion 170             and its broader aspects and, therefore, the appended claims
includes an upper rail 180 and a lower rail 190. Likewise ,           are to encompass within their scope all such changes and
left portion 175 includes an upper rail 185 and a lower rail     20   modifications as are within the true spirit and scope of the
195. Upper rail 185 comprises a hollow female rail while              subject matter described herein . It will be understood by
upper rail 180 acts as a male rail complementary to rail 185          those within the art that, in general, terms used herein , and
and slidable within rail 185. Lower rail 190 comprises a especially in the appended claims ( e.g. , bodies of the
hollow female rail while lower rail 195 acts as a male rail     appended claims ) are generally intended as “ open ” terms
complimentary to rail 190 and slidable within rail 190. This 25 (e.g. , the term “ including” should be interpreted as “ includ
design allows for housing 130 to be expandable to clamp ing but not limited to , " the term “ having ” should be inter
onto virtually any size and type of display housing .            preted as “ having at least , ” the term “ includes” should be
   Once housing 130 is affixed to a computer or other interpreted as “ includes but is not limited to ,” etc. ) . It will be
display, a user may pull either or both of two display screens further understood by those within the art that if a specific
120 and 125 from a stowed position to a use position as 30 number of an introduced claim recitation is intended , such
depicted in FIG . 1 .                                            an intent will be explicitly recited in the claim , and in the
   Referring now to FIG . 4 , a triangular notch on the female absence of such recitation no such intent is present . For
sides of upper rail 185 and also lower rail 190 which are both example, as an aid to understanding, the following appended
the female rails, act to engage a triangular guiding slide 410 claims may contain usage of the introductory phrases “ at
as depicted in FIG . 6 and FIG . 7 for display 125. Likewise, 35 least one ” and “ one or more ” to introduce claim recitations.
a triangular guiding slide is on the bottom edge of display However, the use of such phrases should not be construed to
120. The cross - sectional view depicted in FIG . 6 shows how imply that the introduction of a claim recitation by the
the triangular guiding slide 410 interfaces with the triangular indefinite articles “ a ” or “ an ” limits any particular claim
notch 400 .                                                      containing such introduced claim recitation to claims con
   Triangular guiding slide 400 also serves as a stopper to 40 taining only one such recitation, even when the same claim
prevent the screen from falling out of rail 185 as display 125 includes the introductory phrases “ one or more ” or “ at least
is extended . Triangular guiding slide 400 also acts as a one ” and indefinite articles such as “ a ” or “ an ” (e.g. , " a "
stopper on the other end of female rail 185 so that display and / or “ an ” should typically be interpreted to mean “ at least
125 doesn't fall out the rail internally when display 125 is one” or “ one or more ” ); the same holds true for the use of
stowed .                                                         45 definite articles used to introduce claim recitations. In addi
  Referring now to FIG . 8 , an end view of the rails 185 and       tion , even if a specific number of an introduced claim
195 of the left portion 175 of the housing 130 is depicted. recitation is explicitly recited , those skilled in the art will
Male rail 195 includes two guides that run along the length recognize that such recitation should typically be interpreted
of rail 810. Guides 810 engage with female rail 190 which to mean at least the recited number (e.g. , the bare recitation
has a female cross - section similar to the female cross- 50 of “ two recitations,” without other modifiers, typically
section of rail 185. Rail 185 is depicted with a pair of means at least two recitations, or two or more recitations).
opposing notches 820 that run along rail 185 and are Furthermore , in those instances where a convention analo
configured to engage guides on male rail 180 like guides 810 gous to “ at least one of A , B , and C , etc.” is used , in general
of rail 195. The use of a combination of guides and comple      such a construction is intended in the sense one having skill
mentary notches on rails 185 and 180 and similarly rails 195 55 in the art would understand the convention (e.g. , “ a system
and 190 allows for accurate sliding engagement of the two having at least one of A , B , and C ” would include but not be
portions 170 and 175 of housing 130. The rail to rail limited to systems that have A alone , B alone , C alone , A and
engagement depicted is one example of an arrangement to B together, A and C together, B and C together, and / or A , B ,
enable expandability of housing 130 however any of a and C together, etc. ) . It will be further understood by those
variety of other ways may be used without departing from 60 within the art that typically a disjunctive word and / or phrase
the scope of the invention.                                      presenting two or more alternative terms, whether in the
   It should be noted that the device described may be description, claims , or drawings, should be understood to
formed of a number of different materials and formed in a contemplate the possibilities of including one of the terms,
variety of shapes without departing from the scope of the either of the terms, or both terms unless context dictates
invention . Also , it should be noted that embodiments of the 65 otherwise. For example, the phrase " A or B ” will be typi
accessory device are designed to couple to the display cally understood to include the possibilities of “ A ” or “ B ” or
device , such as but not limited to a laptop computer display, " A and B."
         Case 6:22-cv-00001-ADA Document 26-2 Filed 09/27/22 Page 12 of 12


                                                       US 10,809,762 B1
                                5                                                                        6
   With respect to the appended claims , those skilled in the                  a tensioning member coupled to the first side and the
art will appreciate that recited operations therein may gen                       second side and placing tension between the first side
erally be performed in any order. Also , although various                         and second side;
operational flows are presented in a sequence ( s ), it should be              a first engagement portion coupled to the first side and a
understood that the various operations may be performed in 5                      second engagement portion coupled to the second side ,
other orders than those which are illustrated, or may be                          the first engagement portion and the second engage
performed concurrently. Examples of such alternate order                          ment portion configured to engage at least a portion of
ings may include overlapping, interleaved , interrupted, reor                     the side of a computer's display under force created by
dered , incremental, preparatory, supplemental, simultane                         the tensioning member and to engage at least a portion
ous , reverse , or other variant orderings, unless context 10                     of the top of the display to further keep the housing
dictates otherwise. Furthermore , terms like “ responsive to ,”                   engaged with the computer's display ; and
“ related to , " or other past - tense adjectives are generally not            a first display slidable within the housing and movable
intended to exclude such variants, unless context dictates                        from a stowed position to a use position .
otherwise .                                                                    10. The accessory display device of claim 9 , wherein the
    What is claimed is :                                            15     housing is configured to support at least one display slidable
    1. An accessory display device for a display device,                   within the housing.
comprising:                                                                    11. The accessory display device of claim 9 , wherein the
  a housing having a first side and a second side movable                  housing is configured to support two displays slidable within
     relative to one another;                                              the housing .
  a first pair of rails coupled to the first side and a second 20              12. The accessory display device of claim 9 , wherein the
    pair of rails coupled to the second side , the first pair of           housing is configured to support at least one display slidable
    rails engaged with and slidable relative to the second                 along a guide rail of the first or second side .
    pair of rails ;                                                            13. The accessory display device of claim 9 , wherein the
  a tensioning member coupled to the first side and the                    housing is configured to support a first display slidable along
     second side and placing tension between the first side 25             asupport
                                                                              guide rail  of the first or second side and is configured to
                                                                                      a second display slidable along a guide rail of the
     and second side;                                                      other of the first or second side .
  a first engagement portion coupled to the first side and a                   14. The accessory display device of claim 9 , wherein the
     second engagement portion coupled to the second side ,                tensioning member comprises an elastic band .
       the first engagement portion and the second engage                      15. The accessory display device of claim 9 , wherein the
       ment portion configured to engage the side of a display        30   tensioning member comprises a spring .
       device under force created by the tensioning member ;                   16. An accessory display device for a computer, compris
       and
   a first, display slidable within the housing and movable                ing :
       from a stowed position to a use position .                             a means for housing at least one slidable display screen ,
   2. The accessory display device of claim 1 , wherein the           35         the means for housing having a first side and a second
housing is configured to support at least one display slidable                   side in sliding engagement with each other and slidable
within the housing.                                                              relative to one another;
   3. The accessory display device of claim 1 , wherein the                  a means for tensioning the first side and the second side
housing is configured to support two displays slidable within                    and thereby placing tension between the first side and
the housing.                                                          40         second side ;
   4. The accessory display device of claim 1 , wherein the                   a first means for engaging the side of a computer's
housing is configured to support at least one display slidable                   display, associated with the first side ;
in a guide of at least one rail.                                              a second means for engaging the side of a computer's
   5. The accessory display device of claim 1 , wherein at                       display, whereby the tensioning means provides forces
least one of the first pair of rails is a female rail and the other   45         to the first means for engaging and the second means
of the first pair of rails is a male rail .                                      for engaging; and
   6. The accessory display device of claim 1 , wherein at                    a first display means is slidable within the means for
least one of the first pair of rails is a female rail and the other              housing. and movable from a stowed position to a use
                                                                                 position
of the first pair of rails is a male rail and at least one of the             17. The accessory display device of claim 16 , further
second pair of rails is a male rail and the other of the second       50   comprising:
pair of rails is a female rail, wherein the female rail of the                a second display means is slidable within the means for
first pair of rails engages with the male rail of the second pair                housing and movable from a stowed position to a use
of rails and the female rail of the second pair of rails engages                 position
with the male rail of the first pair of rails .                               18. The accessory display device of claim 16 , wherein the
   7. The accessory display device of claim 1 , wherein the           55   tensioning means comprises an elastic band .
tensioning member comprises an elastic band .                                 19. The accessory display device of claim 16 , wherein the
   8. The accessory display device of claim 1 , wherein the                tensioning means comprises a spring.
tensioning member comprises a spring.                                        20. The accessory display device of claim 16 , further
   9. An accessory display device for a computer, compris    60 comprising :
ing :
   a housing having a first side and a second side in sliding     at least one guiding means for guiding at least the first
     engagement with each other and slidable relative to one         display means to slide along.
     another;
